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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Disability Rights California, California
Protection and Advocacy Agency For
Persons With Disabilities,

Plaintiff,
Vv.

Sierra Vista Rehabilitation Center,
SunBridge Healthcare Corporation

Defendants

 

 

 

MEMORANDUM OF FO

PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

 

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MEMORANDUM OF POINTS AND
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This case involves Plaintiff Disability Rights California’s (DRC’s)
investigation into abuse by Defendants based on individual reports of excessive
force in behavioral restraint and probable cause to suspect all Defendant Sierra
Vista residents are at significant risk of excessive and inappropriate behavioral
restraint. Benavioral restraint and seclusion are practices that can cause serious
injury, even death. The California Legislature nas declared that the “use of
seciusion and behavioral restraints is not treatment, and their use does not
alleviate human suffering or positively change behavior.” See ch. 750, 2003 Cal.
Legis. Servs. 89, §1(a) (codified at Cal. Health & Safety Code § 1180) (statement
of legislative findings).

DRC is a nonprofit corporation authorized by Congress to protect and
advocate for the civil rights of persons with disabilities in California, and is the
designated Protection and Advocacy (P&A) System in the State of California. (42
U.S.C. §§ 10801 ef seg. (West 2009), 42 U.S.C. §§ 15001 ef seq.(West 2009),
and California Welfare and Institutions Code §§ 4900 ef seq. (West 2009).) As
such, DRC’s federal and state mandate is to protect and advocate for people with
disabilities. As part of its mandate, Plaintiff has the authority to access all
relevant records, including all reports prepared by facility staff, for the purpose of
conducting a full investigation into abuse or neglect. Such an abuse investigation
may be based on reports of abuse at the facility by residents therein or a probable
cause determination by the protection and advocacy agency to suspect abuse.
With respect to probable cause determination, Piaintiff, as the protection and
advocacy system, is the final arbiter of probable cause of abuse as defined under
42 C.F.R. § 51.2. See Arizona Center for Disability Law v. Allen, 197 F.R.D. 689,
693 (D. Ariz. 2000).

Pursuant to its full investigation into abuse at Defendants’ facility, DRC has

made multiple written requests for information and records, as well as a request

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for access to the facility and residents therein. Defendants have denied Plaintiff's
access both to information and records and to Defendant Sierra Vista and
residents therein. Defendants’ refusals have caused direct injury to DRC and the
individuals it is mandated to service, and will continue to cause such irreparable
harm unless Plaintiff's Motion for Preliminary Injunction is granted.

FACTS

To further its abuse investigation and gain knowledge of the practices and
procedures used at the facility, DRC sent Defendant Sierra Vista a letter dated
November 21, 2008 referencing multiple reports of excessive physical force by
facility staff and requesting facility policies and procedures for use of behavioral
resirainis. DRC stated its goal was to inform residents of their rights concerning
the facility's use of restraint and to ensure residents’ rights to dignity and respect.
It sought resolution of the matter consistent with 42 C.F.R. § 51.32(a) (1997).
(Declaration of Kevin Bayley (Bayley Dec.) , Exhibit 1 at pp. 13-14).

Defendants’ counsel responded in a letter dated December 2, 2009 stating
that they were gathering the requested restraint policies and procedures and were
considering wheiher to produce them. Defendants’ counsel! also requested client
specific information. (Bayley Dec., Exhibit 2 at pp. 15-16).

DRC replied that day citing its obligation to protect client name and
information underlying a determination of probable cause to investigate abuse at
the facility. (Bayley Dec., Exhibit 3 at pp. 17-18).

On December 8, 2008 Defendants produced their restraint “procedures and
materials” used by staff at Defendant Sierra Vista. (Bayley Dec., Exhibit 5 at pp.
20-21).

On December 26, 2008, DRC sent a letter to Defendants requesting copies
of various facility forms, policies and procedures and “data from January 1, 2008

to the present regarding the number of restraint incidents at Sierra Vista, by type

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of restraint used and facility program.” (Bayley Dec., Exhibit 6 at pp. 22-24).

In a letter dated February 6, 2008, Defendants responded by stating that
they would supply most of the requested information and records but that they
would not provide restraint incident information or records because “the collection
and reporting of such data is covered by state and federal peer review and quality
assurance privileges.” (Bayley Dec., Exhibit 9 at p. 31). Defendants provided
most of the other requested information under cover letter on February 13, 2009.
(Bayley Dec., Exhibits 10-23 at pp. 32-174).)

In a letter dated February 24, 2009, DRC reiterated its request for restraint
incident data pointing out that such information or reports were not covered by
peer review statutes and, even if they were, that protection and advocacy
systems such as DRC had access to peer review records under federal and state
law. (Bayley Dec., Exhibit 24 at pp. 175-176).

in a letter dated March 11, 2009, Defendants once again denied DRC’s
request for restraint incident data stating that such information or records were
protected from disclosure under a federal regulation regarding information
developed by members of a nursing facility's quality assessment and assurance
committee. (Bayley Dec., Exhibit 25 at p. 177).

DRC’s response, dated March 20, 2009, explained why the federal
regulation cited by Defendants was no shield to DRC’s access to the requested
information or records given its congressional authority, renewed its request for
restraint incident data from January 1, 2008 to February 28, 2009 and requested
additional records. DRC again offered to work with Defendants to establish facility
policies and procedures on the right of residents to be free from unnecessary or
excessive behavioral restraint, to provide for staff training, to provide for
information and training to residents on their rights, and to monitor restraint usage
at the facility. (Bayley Dec. Exhibit 26 at pp. 178-183).

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In a letter dated April 6, 2009, DRC requested that Defendants provide a
written explanation of their denial of its access to requested records. (Bayley
Dec., Exhibit 27, at pp. 184).

in a letter dated April 8, 2009, DRC requested access to Defendant's facility
and residents on April 17, 2009 (giving Defendant Sierra Vista over a week of
advance notice} in order to provide information about individual rights and the
advocacy services, and also to monitor conditions at the facility. (Bayley Dec.,
Exhibit 28, at pp. 185-186).

in an e-mail from Defendant's counsel, Defendants denied DRC’s request
for access to Defendant Sierra Vista on April 17, 2009 and stated they wouid
propese alternative dates. (Bayley Dec., Exhibit 29, at pp. 187-188).

Defendants’ counsel sent a letter dated April 27, 2009 to DRC denying
access and proposing a meet and confer to develop an access protocol. (Bayley
Dec., Exhibit 30 at p. 189).

In a separate letter dated April 27, 2009, Defendants declined to produce
any of the information and records requested by DRC on March 20, 2009 again
citing the federal regulation related to records of a nursing facility's quality
assessment and assurance committee. In addition, Defendants indicated that the
restraint data and all of the other requested reports were deemed “beyond the
scope of the authority granted to protection and advocacy agencies such as
DRC.” They claimed that the “plain language of [federal and state] statutes and
regulations . . . precludes DRC from obtaining general information about the
facility and its operations.” Defendant's counsel also asserted that DRC “does not
have the right to access any [staff] training materials or data regarding [staff]
training” on use of restraints. (Bayley Dec., Exhibit 33, at pp. 195-197).

In response to Defendants letter of April 27, 2009, DRC sent a written

request for the names, addresses and telephone numbers concerning Sierra

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PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

 
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Vista residents. (Bayley Dec., Exhibit 34, at p. 198).

DRC sent a letter dated May 13, 2009 to Defendants stating its willingness
to discuss the details of its access to Sierra Vista and residents therein, but also
seeking assurance of its access authority under federal and state law. (Bayley
Dec., Exhibit 31, at pp. 190-191).

in a letter dated May 20, 2009, Defendants acknowledged DRC’s right of
access but then went on in essence to deny access to residents at the facility by
placing restrictive terms and conditions upon a proposed visit that are contrary to
DRC’s rights of access under state and federal law. (Bayley Dec., Exhibit 32, at
pp. 193-194),

ARGUMENT

i. PLAINTIFF IS ENTITLED TO PRELIMINARY INJUNCTION BECAUSE
THE FOUR TRADITIONAL EQUITABLE CRITERIA WEIGH STRONGLY
INITS FAVOR

The four “traditional equitable criteria” for granting a preliminary injunctive
are: (1) the moving party has a likelihood of success on the merits, (2) there is a
possibility of irreparable harm to the moving party if relief is not granted, (3) the
extent fo which the balance of hardships favors the moving party, and (4) in some
cases, whether the public interest will be advanced by granting the preliminary
relief. (Owner-Operator Independent Drivers Ass’n v. Swift Transp. Co., 367 F.3d.
1108, 1711 (9th Cir. 2004).)

However, Plaintiff need not establish all four criteria in order for the motion
for a preliminary injunction to be granted. Instead, Plaintiff “must show either (1)
a combination of probable success on the merits and the possibility of irreparable
harm, or (2) the existence of serious questions going to the merits, the balance of

hardships tipping sharply in its favor and at least a fair chance of success on the

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merits.” Id. at 1111.

Nonetheless, in this case, DRC has evidence that satisfies each element of
the four part test. DRC has a likelihood of success, will be irreparably harmed if
relief is not granted, has the balance of hardships tipped in its favor, and will

advance the public interest if relief is granted.

A. DRC Is Likely to Succeed on the Merits Because Access to
Records, information, and Residents is Part of its Federal and
State Mandates

DRC is part of a well established P&A System that was created by
Congress to protect and advocate for the rights of persons with developmental
and mental disabilities. As such, federal and state law authorize it to access
records, information, and residents under certain circumstances and/or
conditions.

Congress established the protection and advocacy system following the
disclosure of horrifying and inhumane conditions, including physical abuse, at a
New York facility for people with developmental disabilities, by enacting the
Developmental Disabilities Assistance and Bill of Rights Act of 1975, 42 U.S.C. 8§
15001-15115. (Eg., Alabama Disabilities Advocacy Program v. J.S. Tarwater
Developmental Ctr., 97 F.3d 492, 494 (11th Cir. 1996) (describing the origin of the
PADD Act).) Under the PADD Act, 42 U.S.C. §§ 15001 et seg., and subsequent
PAIMI Act, 42 U.S.C. §§ 10801 et seg., DRC has the authority to 1) “pursue legal,
administrative, and other appropriate remedies or approaches to ensure the
protection of, and advocacy for, the rights of such individuals[;]’ 2) to “investigate
incidents of abuse and neglect of individuals with developmental disabilities if the
incidents are reported to the system or if there is probable cause to believe that
the incidents occurred[;}” and 3) to have access to residents at the facility at
reasonable times. (42 U.S.C. § 15043(a)(2)(A)(ii),(B),&(H) (West 2009) [PADD];

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42 U.S.C. § 10805(a)(1)(A)&(B),(3) (West 2009) [PAIMI].) Additionally, pursuant
to an abuse and/or neglect investigation, DRC may access relevant records and
information. (42 U.S.C. §§ 15043(a)(2)(1), (J), & (c); 45 CFR . § 1386.22
(1996).)

DRC’s authority to conduct full investigations into abuse and neglect
extends to all public and private facilities providing care and treatment in
California. (42 U.S.C. § 10802(3) [PAIMI]; 45 C.F.R. § 1386.19 (1996) [PADD];
see also Cal. Welf. & Inst. Code § 4900(d}.) This includes Defendant Sierra
Vista's private for-profit facility. DRC opened a full investigation into abuse at
Defendant Sierra Vista based on resident reports of excessive force and abuse
during restraint practices. (42 C.F.R. § 51.2 (1997) (definitions of “full
investigation” and “abuse”); see also Cal. Welf. & Inst. Code § 4900(b)&(h).)
DRC also determined based on reports that there was probable cause that all
residents of the facility may be at significant risk of abuse at the facility based on
Defendants’ behavioral restraint practices at Sierra Vista. (42 C.F.R. § 51.2
(1997) (definition of “probable cause”); see also Cal. Welf. & Inst. Code § 4900(h)
(West 2009); Declaration of Rachel Sherer (Sherer, Dec.) at pp. 199-246). Such
probable cause determination has continued during the course of DRC’s

investigation into Defendant Sierra Vista’s restraint practices.

1. Piaintiff is Authorized to Access All Relevant Records and
information Pursuant to Its Determination of Probable Cause of
Abuse Under Federal and State Law

So that a P&A System can conduct a full investigation into and remedy
instances of abuse and neglect of persons with developmental and mental
disabilities, the PADD and PAIM! Acts authorize DRC access to certain records
and information as follows.

The PADD Act provides DRC the authority to access “all records of .. . any

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individual with a developmental disability who is a client of the system if such

individual . . . has authorized the system to have such access.” (42 U.S.C. §
15043(a)(I)(i).) in addition to individual records, DRC has the authority to access
“other records that are relevant to conduct an investigation ....” (42 U.S.C. §

15043(a)(J)(i).) The term “record” includes “a report prepared or received by any
staff at any location at which services, supports, or other assistance is provided to
individuals with developmental disabilities[.]” (42 U.S.C. § 15043(c\(1); see also
AS C.F.R. § 1386.22(b)&(c) (1996) (access to records).)

The PAIMI Act also provides DRC broad authority to access “all records” of
any individual who is a client of the system and who has authorized such access.
(42 U.S.C. § 10805(a)(4)(A).) The term “records” includes

reports prepared by any staff of a facility rendering care and
treatment or reports prepared by an agency charged with
investigating reports of incidents of abuse, neglect, and injury
occurring at such facility that describes incidents of abuse,
neglect, and injury occurring at such facility and the steps taken to
investigate such incidents ....

(42 U.S.C. § 10806(b)(3)(A); see also 42 C.F.R. § 51.41 (1997) (Access to
records),)

DRC has requested the following records and information pursuant to its
probable cause abuse investigation pursuant to laws described above.
Defendants have denied and continue to deny DRC rightful access to such
records and information in violation of federal and state law.

a. Restraint Incident Data

DRC has requested from Defendant Sierra Vista “Data from January 1,
2008 through February 28, 2009 regarding the number of restraint incidents at
Sierra Vista, by type of restraint used and facility program.” (Bayley Dec. Exhibits

6, 24, 26). DRC has made this request in order to determine the pervasiveness

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of behavioral restraint at the facility, whether there may be a particular type of
restraint practice that is being used excessively and/or inappropriately such that it
amounts to abuse, to monitor trends in behavioral restraint use at the facility, and
for other purposes of its full abuse investigation based on probable cause.

b. Facility Reports to Third Parties

DRC has requested from Defendant Sierra Vista “Each and every Notable
Incident Report completed by facility staff from January 1, 2008 through February
28, 2009 regarding use of restraint at the facility, with redaction of resident name
and medical record number.” (Bayley Dec., Exhibit 26, at p. 182). DRC has made
this request in order to determine whether or not Defendant Sierra Vista is
complying with law fo report incidents of injury or abuse related to restraint, which
is relevant to its full investigation into abuse. Additionally, DRC believes that
either an incident of injury has occurred that requires placement in restraint and/or
an injury may result from placement in restraints. in either situation, Defendant
Sierra Vista should be documenting restraint practices in the Notable Incident
Forms. Further, these reports to third parties, with resident information redacted,
would provide DRC with substantive information as to whether the restraint
practices amounted to abuse.

c. Facility Restraint-Documentation Forms

DRC has requested frorn Defendant Sierra Vista five types of documents
that the facility uses to document restraint issues and/or incidents,

First, DRC has requested “Each and every Psychiatric Advance Directive
completed by all Sierra Vista residents from January 1, 2008 through February
28, 2009, with redaction of resident name, record number, signature and printed
name.” (Bayley Dec., Exhibit 26 at p. 182). The Psychiatric Advance Directive
used by the facility is specifically designed to obtain informed consent from

residents with respect to behavioral restraint practices. (Bayley Dec., Exhibit 16,

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at pp. 100-103). In some instances, residents select preferences for certain
restraint practices and not others. This document is relevant to DRC’s
investigation because it will provide information as to whether or not residents are
fully informed as to their rights surrounding potentially abusive restraint practices.

Second, DRC has requested “Each and every P.A.R.T. Debriefing form
completed by facility staff from January 1, 2008 through February 28, 2009, with
redaction of resident name and medical record number.” (Bayley Dec., Exhibit 26,
at p. 182 and Exhibit 20 at pp.151-152). This document is used by the facility to
facilitate a discussion between a staff member and the resident after the restraint
incident regarding the reason for placement in restraint as well as the ways to
avoid placement in restraint in the future. This debriefing form would also include
documentation of injuries that result from placement in restraint. DRC is seeking
these redacted documents in order to investigate whether Defendants’ behavioral
restraint practices are abusive.

Third, DRC has requested “Each and every Behavioral Restraint(s)
Debriefing & Resolution form completed by facility staff from January 1, 2008
through February 28, 2009, with redaction of resident name and medical record
number.” (Bayley Dec., Exhibit 26, at p. 182 and Exhibit 21 at pp 153-156).
These documents are similar in content to the P.A.R.T Debriefing form. Thus,
DRC seeks these documents for the same reasons identified above with respect
to the P.A.R.T. debriefing form.

Fourth, DRC has requested “Each and every interview Narrative Record
completed by facility staff from January 1, 2008 through February 28, 2009, with
redaction of resident name(s), medical record number(s), signature, and printed
name.” (Bayley Dec., Exhibit 26 at p. 182 and Exhibit 22 at pp. 157-158). This
document is used by the facility to debrief with residents after restraints are used.

DRC is seeking these redacted documents in order to investigate whether

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Defendants’ behavioral restraint practices are abusive.

Fifth, DRC has requested “Each and every restraint log kept by the facility
from January 1, 2008 through February 28, 2009, including but not limited to that
required under Title 22, Cal. Code Regs, § 72461(b), with redaction of resident
names,” (Bayley Dec., Exhibit 26 at pp. 182-183). DRC seeks these documents
to determine the number of and information about incidents recorded by
Defendant Sierra Vista staff in the log pursuant to its abuse investigation based
individual complaints and probable cause. (Cf Ohio Legal Rights Services v. The
Buckeye Ranch, 365 F.Supp.2d 877, 887 (S.D. Ohio 2005).)

d. Other Relevant Records and Information

DRC has requesied from Defendant Sierra Vista “The names of all facility
staff trained on the use of restraints, including Pro-Act restraints, the date of such
training, and the training materials.” (Bayley Dec., Exhibit 26 at p. 183). DRC has
requested this information toward a determination of whether facility staff
members are properly trained prior to using restraint practices when such
practices appear to be abusive. With this information, DRC may also investigate
whether there are any particular staff members who tend to be using restraint
practices more frequently than others or in a more abusive manner than others.

Defendants have given various reasons for denying DRC access to the
requested records, none of which is defensible and each is described below.

initial reluctance and Delay

Defendants initially hesitated to provide DRC access to any facility materials
on use of behavioral restraint. (Bayley Dec., Exhibit 2, at p. 15). They eventually
produced Pro-Act Training Manuals, which were referred to as “procedures and

materials.” (Bayley Dec., Exhibit 5 at p. 20).

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Peer review and quality assurance privileges

In response to DRC’s request for restraint incident data, Defendants said
that they “will not provide such data as the collection and reporting of such data is
covered by state and federal peer review and quality assurance privileges.”
(Bayley Dec., Exhibit 9 at p. 31). DRC provided authority to the contrary. (Bayley
Dec., Exhibit 24 at p. 176).

Defendants answered by acknowledging that the PAIMI Act “may preempt
State law protections for peer review and quality assurance records under certain
circumstances” but then went on to state that “42 C.F.R. § 483.75(0)(3) prohibits
disclosure of records of the quality assessment and assurance committee.”
(emphasis in the original) (Bayley Dec., Exhibit 25, at p. 177). This regulation

provides as follows:

A State or the Secretary may not require disclosure of the records of
such committee except in so far as such disclosure is related to the
compliance of the committee with the requirements of this section.

42 C.F.R. § 483.75(0)(3) (2006).

DRC is not aware of any reported federal court decision interpreting this
regulation. The Missouri Supreme Court has construed the relevant portion of the
siatutory authority for this provision under 42 U.S.C. §§ 1395i-3(b\(1\(B) &
1396r(b)(1)(B). (State ex rel. Boone Retirement Ctr. v. Hamilton, 946 S.W.2d 740,
743 (Mo. 1997).) It held that:

The statute limits the scope of the privilege to “records of such
committee.” This statutory privilege is exceedingly narrow. it protects
the committee’s own records — its minutes or internal working papers
or statements of conclusions — from discovery. No honest reading of
the statute, however, can extend the statute’s privilege to records and
materials generated or created outside the committee and submitted
to the committee for its review.

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(id. at 743; cf. In the Mattter of Subpoena Duces Tecum to Jane Doe, 99 N.Y.2d
434, 436 (N.Y. 2003) (privilege covers any reports generated by or at the behest
of a quality assurance committee); Hale v. Odd Fellow & Rebekah Health Care
Facility, 728 N.Y.S.2d 649, 651 (App. Div. 2001) (privilege does not cover
maintenance and security records).)

None of DRC’s eight requests for access to information or records can be
characterized as a record developed by Defendant Sierra Vista's quality
assessment and assurance committee solely for use by the committee.

With respect to the first request for restraint incident data, Defendants need
to provide only duplicate existing information to DRC. Defendants are required to
keep restraint logs on a daily basis. (Tit. 22, Cal. Code Regs., § 72461) (West
2008). They must document incidents of denial of rights, including incidents of
restraint, in individual medical records. (E.g., Tit. 9, Cal. Code Regs. § 865.3.)
They must also report "unusual occurrences” that threaten the health, safety, and
welfare of residents to the local health officer and the licensing Department, which
should include behavioral restraint incidents. (Tit. 22, Cal. Code Regs. § 72541,
72521(c)(6).) Defendant Sierra Vista must also report behavioral restraint
incidents to the local mental health director. (Tit. 9, Cal. Code Regs. § 866
{regarding quarterly reports).) Community standards for California nursing
facilities such as Defendant Sierra Vista also require data collection specifically
regarding the number of restraint incidents. (Cal. Health & Safety Code §§
1780.2(d)(3)(E) & 1180.3(c\4).)} Thus, Defendant Sierra Vista should have
restraint incident data available through a variety of media exclusive of peer and
quality review reports. DRC merely seeks data and is not now seeking analyses,
interpretations, conclusions concerning behavioral restraint incidents at the
facility.

DRC has also requested redacted records prepared by Defendant Sierra

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Vista to document restraint practices, namely: Notable Incident Reports,
Psychiatric Advance Directives, Restraint Debriefings, including Resident
Interviews, and Restraint Logs. DRC seeks these documents to evaluate
Defendants’ completion of them. Specifically, DRC seeks to know whether such
reports are individualized or whether the documentation provided by staff
indicates patterns of rote completion, as has been reported to DRC. (Scherer
Dec. at p. 201). Therefore, individual identifying information is not necessary as
DRC seeks to evaluate the extent to which there are consistencies or
inconsistencies in documentation suggesting abuse in the use of behavioral
restraint at Defendant Sierra Vista. (Cf. Arizona Center for Disability Law v. Allen,
197 F.R.D. 689, 691 (D. Ariz. 2000) (access to redacted records later led to
access to unredacted records).) Here, DRC has probable cause to suspect that
the well-being of all residents of Defendant Sierra Vista is at significant risk of
serious and immediate jeopardy and this warrants all the requested information
and redacted records to properly investigate. (See jowa Protection and Advocacy
Services, Inc. v. Gerard Treatment Programs, 152 F.Supp.2d 1150, 1171-72
(N.D. lowa 2001) (probabie cause.)

These requested records should not be withheld under a peer review or
quality committee privilege because production of such records is otherwise
required by Defendants. With respect to the Notable Incident reports, the
Defendant Sierra Vista is required under federal and state law to complete and
submit these reports to external entities. (Tit. 22, Cal. Code Regs. § 72541,
72521(¢){6) (requiring reporting of incidents that threaten welfare, safety or health
of patients to the local health officer and the Department); 42 C.F.R. §
483.13(c)(2)&(4) (requiring reporting in compliance with state law within 5 working
days of incident).) Additionally, pursuant to a superseding civil injunction,

Defendant Sierra Vista must also report these incidents under state flaw to the

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Department of Justice. (Scherer Dec., Exhibit 39 at pp. 242246).

The other requested records, including Advance Directives, debriefing
documents, and restraint logs are requirements irrespective of Defendant Sierra
Vista's peer review or quality committee. (See 42 C.F.R, § 489.102(a)
(requirements for advance directives); Cal. Health & Safety Code §§1 180.4(a)(1)
(requiring a person's advance directive regarding de-escalation or the use of
seclusion or behavioral restraints); Cal. Health & Safety Code § 1180.5(a)-(d)
(requiring clinical and quality reviews, debriefing, discussions, and documentation
of restraint); e.g., Tit. 9, Cal. Code Regs. § 865.3 (regarding denial of rights
documentation in treatment records); Tit. 22, Cal. Code Regs. § 72461(b)
(requiring the facility to keep a restraint log).) Thus, this information is not solely

used for quality assessment and assurance purposes.

Finally, Defendants are encouraged to ensure the provision of staff training
to reduce or eliminate the use of seclusion and behavioral restraints based on
best practices and with the input of stakeholders. (Cal. Health & safety Code §
1180.3(b).) Thus, such information must be available for review by external
entities. (Declaration of Leslie Morrison at pp. 2-6).

The fact that any of the above requested information or records that
Defendants are otherwise required to prepare finds its way to the facility’s quality
assessment and assurance committee does not render it privileged pursuant to
42 C.F.R. § 483(0)(3) (2006).

However, even if any of the requested information or records could
somehow be characterized as a record of such committee, Congress has
authorized DRC access to peer review and quality review reports developed by
Defendants. (See Pennsylvania Protection & Advocacy, Inc. v. Houstoun, 228
F.3d 423, 428 (3d Cir. 2000) (affirming right to access peer review records

regarding suicide by state hospital patient); Protection & Advocacy for Persons

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with Disabilities v. Mental Health & Addiction Servs., 448 F.3d 119, 128 (2d Cir.
2006) (affirming right to access peer review records pertaining to a restraint
related death and a choking related death); Center for Legal Advocacy v.
Hammons, 323 F.3d 1262, 1270 (10th Cir. 2003) (reversing denial of peer review
and quality assurance records pertaining to four suicides at state hospital):
Missoun Protection & Advocacy Servs. v. Missouri Dep't Mental Health, 447 F. 3d
1021, 1024 (8th Cir. 2006) (affirming right to access mortality and morbidity report
concerning death of a state hospital patient).)

The statutory and regulatory privilege of a nursing facility quality
assessment and assurance committee does not negate access authority
accorded to P&A Systems such as DRC by Congress.

This matter concerns DRC’s abuse investigation. (See Alabama Disabilities
Advocacy Program v. J.S. Tarwater Developmental Ctr., 97 F.3d 492, 498-99
(11th Cir. 1996) (P&A probable cause determination is not an indictment but
rather a civil investigation).)

in addition, the federal statute and implementing regulations relied on by
Defendants expressly recognize the unique role of P&A Systems such as DRC.
(42 U.S.C. § 1396r(c)(2)(B)i)UIN&(V) (information about P&A systems); 42
C.F.R. § 483.10(j)(v) (access rights of P&A system for individuals with |.
developmental disabilities); 42 C.F.R. § 483.10(j)(vi) (access rights of P&A
system for individuals with mental illness).)

Thus, Defendants cannot continue to deny DRC’s access to records
authority by slipping requested information and records in the envelope of a peer

review or quality committee privilege thereby subverting Congressional mandates.

Claim of no authority to access information about the facility

Defendants aiso assert that the restraint incident data and all of the other

requested reports are deemed “beyond the scope of the authority granted to

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protection and advocacy agencies such as DRC.” (Bayley Dec., Exhibit 33, at p.
195). They claim that the “plain language of [federal and state} statutes and
regulations . . . precludes DRC from obtaining general information about the
facility and its operations.” /d.

Clearly, DRC is authorized to obtain general information about Sierra Vista
and its operations based on applicable statutory and regulatory language. For

example, PADD Act regulations provide for DRC’s access to:

Information in professional, performance, building or other safety

standards, demographic and statistical information relating to a

facility.
(45 C.F.R. § 1386.22(c)(2) (1996).) The PAIMI Act regulations similarly provide
for DRC’s access to information and records by and about Defendant Sierra
Vista. (42 C.F.R. § 51.42(c)(a)(1),(2),(4)&(5) (1997); see also Cal. Welf. & Inst.
Code § 4903(b) (“information and records . . . shall include, but not be limited to . .
. reports prepared by any member of the staff of a facility’).) Thus, pursuant to
multiple provisions in both federal and state statutes and implementing
regulations, DRC is entitled to access behavioral restraint incident data and other
requested reports prepared by Defendant Sierra Vista staff as part of its abuse
investigation.

Defendants further assert that DRC “does not have the right to access any
[staff] training materials or data regarding [staff] training’ on use of restraints.
(Bayley Dec., Exhibit 33 at p. 196). This, too, is contrary to the plain language of
45 C.F.R. § 1386.22(c)(2) (1996) and 42 C.F.R. § 51.44(c)(5) (1997).

2. Plaintiff has Authority to Access Sierra Vista and Its Residents
Pursuant to its State and Federal Mandate as the Protection and
Advocacy Agency

As referenced above, DRC has the authority to access facilities under 42

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U.S.C. section 10805(a)(3). The PAIMI Act regulations provide for DRC’s access
to Sierra Vista and residents therein for the following purposes: when ‘there is
probable cause to believe than an incident has or may have occurred”: “providing
information and training’; and “monitoring compliance with respect to the rights
and safety of residents.” (42 C.F.R. §§ 51.42(b), 51.42(c)(1)&(2) (1997); see also
45 C.F.R. § 1366.22(f)&(g) (1996); Cal. Welf. & Instit. Code § 4902(b).)

DRC’s April 8, 2009 request to Defendants for access to Sierra Vista and
the residents therein on April 17, 2009, from 11 am to 3 om, was reasonable
given that these were normal business hours. (Bayley Dec., Exhibit 28 at pp. 185-
186).

Defendants delayed and then denied Plaintiff's access to Defendant Sierra
Vista. in an e-mail dated April 10, 2008, Defendants’ counsel stated that he
would get back to DRC with alternative dates. (Bayley Dec. , Exhibit 29 at p. 187).
He then sent a letter dated April 27, 2009 denying access and instead proposing
a meet and confer to develop an access protocol. (Bayley Dec., Exhibit 30, at p.
189).

DRC sent a letier stating its willingness to discuss access to the facility and
residents consistent with the plain language of applicable statutory and regulatory
language. (Bayley Dec., Exhibit 31 at pp. 190-91).

Defendants replied with a list of six terms and conditions, which are
unsupportable particularly in light of DRC’s abuse investigation based on
probable cause. First, Defendants will grant access only “during normal business
hours.” (Bayley Dec., Exhibit 32 at p. 193). While DRC has never sought access
to the facility outside normal business hours, it preserves its authority for
“reasonable unaccompanied access to residents at aif times necessary to conduct
a full investigation . . . .” into abuse at the facility. (42. C.F.R. § 91.42(c) (1997)
(emphasis added); see also 45 C.F.R. § 1386.22(f) (1996) (“when necessary’):

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Cal. Weilf. & Inst. Code § 4902(b)(b)(1) (“at all times as are necessary’).)

Second, Defendants seek to restrain DRC’s access to Sierra Vista and
residents therein by requiring “at least five business days advance written notice.”
(Bayley Dec., Exhibit 32 at p. 193). This conflicts with DRC’s access authority
under federal and state jaw. For example, requiring advance notice would
“seriously hinder” DRC’s abuse investigation function. (Equip for Equality, inc. v.
lngalis Memorial Hosp., 292 F.Supp.2d 1086, 1100-1101 (N.D.IIl. 2003), citing
Robbins v. Budke, 739 F.Supp. 1479 (D.N.M. 1990).)

Third, Defendants require that advance notice “include a statement of the
nature and purpose of the visit.” (Bayley Dec., Exhibit 32 at p. 193). This
conflicts with DRC’s duty to keep information confidential. (42 C.F.R. § 51.45
(date); Cal. Welf. & inst. Code § 4903(f).)

Fourth, Defendants improperly seek “to observe the activities of the DRC
staff curing the visit... .” (Bayley Dec., Exhibit 32 at p. 193). This is plainly
counter to DRC’s rignt of “unaccompanied access’ to Sierra Vista. (42 C.F.R. §§
91.42(b)&(c) (1997); 45 C.F.R. § 1386.22(f)&(g) (1996); Cal. Welf. & Inst. Code §
4902(b)(1)&(2). In addition, this right must “include the opportunity to meet and
communicate privately with individuals regularly, both formally and informally .. .
” 42 C.F.R. § 51.41(d) (1997); 45 C.F.R. § 1386.22(h} (1996). Furthermore,
residents who otherwise may be willing to initiate contact with DRC staff may be
deterred if the nature or purpose of such contact is disclosed to the Defendants.
Robbins v. Budke, 739 F.Supp. at 1486. As the court stated:

Many institutionalized residents are reluctant or afraid to take actions
that might incur the displeasure of staff who control nearly every
aspect of their daily life.

id.
Finally, Defendants fifth and sixth so-called “terms and conditions” on

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DRC’s access to the facility vis-A-vis abrupt refusal or termination of access are
altogether incongruous DRC’s access authority and resident rights under federal
and state law. (E.g., 42 U.S.C. § 1396r(c)2\(ByiiI)(IM&(IV); 42 C.F.R. §§
483.10(j)(v) & 483.10(j\(vi) (2006); State of Connecticut Office of Protection and
Advocacy for Persons with Disabilities v. Hartford Bd. Educ., 355 F.Supp.2d 649,
664 (D. Conn. 2005) (access to students to determine if there was mistreatment).)

3. Plaintiff has Rights to Prompt Access to Records and Records

Pursuant to its Federal and State Mandates as the P&A Agency, DRC has a
right to access individual records and “other records that are relevant to
conducting an investigation . . . not later than 3 business days after the system
makes a written request for the records involved.” (42 U.S.C. § 15043(a)(2)(J)(i);
see also 42 U.S.C. § 15043(a)(2)(J){ii) (immediate access).)

DRC’'s right of access to Defendant Sierra Vista and its residents must be
provided “at all times necessary” fully to investigate abuse. (42 C.F.R. § 51.42(b)
(1997); see also 45 C.F.R. § 1386.22(f) (1996); Cal. Welf. & Inst. Code §
4902(b)(1).

A facility must promptly provide a written statement of reasons if the P&A
system's access to facilities, programs, residents or records is delayed or denied.
(42 C.F.R. § 51.43 (1997); 45 C.F.R. § 1386.22(i) (1996).)

Defendants have failed to provide access to records and Sierra Vista
residents in a timely manner, and they have failed promptly to provide a written
statement of reasons for its delay or denial of DRC’s requests for access to
records and the facility.

Thus, Plaintiff is likely to prevail on the merits of its access claim.

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B. Plaintiff is Suffering Irreparable Injury and Will Continue to Do So
Unless the Court Grants the Motion for Preliminary Injunction

The second criterion weighed by courts in determining whether or not to
grant a preliminary injunction is whether or not Plaintiff is suffering irreparable
injury. Several courts have found that a P&A suffers irreparable injury if its
mission of protecting and advocating for the rights of its constituents is frustrated.
For example, the Second Circuit recently approvingly cited a district court’s
statement that “Courts have concluded that a P&A system’s inability to meet its
federal statutory mandate to protect and advocate for the rights of individuals with
disabilities is an irreparable harm for purposes of injunctive relief.” (State of
Connecticut Office of Protection and Advocacy for Persons with Disabilities v.
Hartford Bd. Educ., 464, F.3d 229, 234 (2d Cir. 2006).) Additionally, a district
court has found that a children’s psychiatric facility improperly denied the P&A
access to records anc residents. (lowa Protection and Advocacy Services, Inc. v.
Gerard Treatment Programs, 152 F.Supp.2d 1150, 1176 (N.D. fowa 2001).)
According to the court, “[the P&A] has . . . been irreparably harmed by being
prevented from pursuing fully its right to access records and patients.” /d. at 1173.
In a case involving P&A access to the records of two deceased residents, another

district court found thai

the defendant's refusal to provide [the P&A] with records that it is
entitled to review (indeed, charged to review as part of its
responsibilities) does in very real and readily identifiable way,
pose a threat to the plaintiffs being able to discharge its
obligations. And no amount of damages will remedy that
sustained harm.

Wisconsin Coalition for Advocacy v. Czaplewski, 131 F.Supp.2d 1039, 1051 (E.D.
Wis. 2001). Here, DRC is prevented from fully investigating suspected abuse at
Defendant Sierra Vista related to restraint practices because Defendant Sierra

Vista has denied access to relevant records, information, and access to residents

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to complete such an investigation. The actions and inactions by Defendants have
forced DRC to expend time and resources repeatedly following up with
Defendants on its requests often to no avail, and DRC’s advisement of its
constituents about their rights and Defendants’ responsibilities have been
delayed. Most importantly, the Sierra Vista residents DRC is mandated to serve
are at risk of injury and death. Thus, DRC, and its constituents, have suffered
and continue to suffer irreparable injury.

C. The Balance of Hardships Favors Plaintiff

The third criterion weighed by courts in determining whether or not to grant
a preliminary injunction is whether or not DRC’s hardship outweighs that of
defendant. Since DRC is entitled to access to all relevant records prepared by
staff of Defendant Sierra Vista and to reasonable unaccompanied access to the
facility and residents therein, Defendants suffer no harm other than production of
documents. DRC, on the other hand, is stymied and thwarted in its full
investigation into abuse at the facility. Critically, the abuse investigation that DRC
has undertaken is to evaluate restraint practices that professional literature states
can lead to serious injury or death. DRC requests information, records, and
access to residents to prevent such serious injury or death. The hardship to
Defendant to produce the documents is miniscule in light of the harm that can be
prevented or stopped by providing relevant information and records to further a
full investigation.

Further, in a case involving a P&A finding of probable cause for an
investigation under the PADD Act, the Eleventh Circuit identified the interests

involved in the hardship balance as follows:

In the P&A probable cause process, the interests of three parties
are implicated - those of the facility, those of the individual who
may have been subject to abuse and his or her family, and those

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of the P&A, which has an obligation and mandate to protect from
abuse the individual(s) and others who are similarly situated. in
this balance, the facility's interests surely are less viable and of
less import than those of the individual and the P&A. The facility
can claim no interest in avoiding investigations of harm or injury to
a person with a disability... . Indeed, one would suppose that a
facility's legitimate interests are served when abuse and neglect
are uncovered and can be corrected. Likewise, when a P&A
makes a finding of probable cause, no liberty interest of the
developmentally disabled person is threatened, as it is precisely
that interest that the P&A seeks to protect.

(Alabama Disabilities Advocacy Program v. J.S.. Tarwater Developmental Ctr., 97
F.3d 492, 499 (11th Cir. 1996).)

The same principles identified above to balance the respective interests
between DRC and Defendants apply here. Defendants’ can claim no legitimate
interest in shielding the number of restraint incidents by type of restraint and
facility program. Presumably, Defendants will actually benefit from disclosure of
all records relevant to whether their restraint practices amount to abuse and
whether their staff are fully informed of and educated about their responsibilities
related to restraint practices. With such information, for example, written policies
could be implemented that would prevent future abuse. (See also lowa
Protection and Advocacy Servs., Inc. v. Gerard Treatment Programs, 152
F.Supp.2d 1150, 1174-75 (N.D. lowa 2001) (finding that the interests of a facility
in forestalling an investigation bordered on the non-existent).)

Facility residents have interests in being free from abuse as well as
excessive and inappropriate behavioral restraint. (42 U.S.C. § 1396r(c)(1)(A)(ii):
Cal. Welf. & Inst. Code § 5325.1(c).) Residents also have an interest in ensuring
that the facility is completing assessments and service plans in accordance with
statutory, regulatory, and professional standards. Further, residents have a
protected interest in a safe environment free from having to experience or witness

abuse or excessive or inappropriate use of force by facility staff on themselves or

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other residents, perhaps on a daily basis and even repeatedly each day.

lf DRC’s Motion for a Preliminary Injunction is denied, it will be unable to
carry out its statutory obligation to provide effective protection and advocacy
services to individuals with disabilities. Congress intended that California, like
other states, have an “effective” P&A agency, not simply a pro forma organization
which has the theoretical power to investigate cases of possible neglect but no
effective way to carry out those investigations. Mississippi Protection & Advocacy
System, Inc. v, Cotten, 929 F.2d 1054, 1058 (Sth Cir. 1991). If this Court denies
DRC’s Motion, DRC will be irreparably harmed in ways reaching far beyond this
case, as its ability to carry out future investigations, to ferret out abuse and
neglect, would be severely cornpromised. Conversely, if DRC's Motion for a
Preliminary Injunction is granted, Defendants will merely be required to do that
which the law requires. (Wisconsin Coalition for Advocacy v. Czapelewski, 131
F.Supp.2d 1039, 1052 (E.D. Wis. 2001); lowa Protection and Advocacy Servs.
lnc. v. Gerard Treatment Programs, 152 F.Supp.2d 1150, 1174 (N.D. lowa 2001);
Advocacy Center v. Stadler, 128 F.Supp.2d 358, 368 (M.D. La. 1999).)

Thus, hardship to DRC outweighs that to Defendants.

D. The Public Interest Will be Advanced by the Grant of Preliminary
Relief

The fourth criterion weighed by courts in determining whether or not to grant
a preliminary injunction is whether or not public interest will be advanced. As
noted above, Congress enacted the PAIMI Act because of concern that
individuals with mental illness were vulnerable to abuse and neglect and that their
rights needed to be protected. Providing DRC access to requested facility
records will enable DRC to proceed with its full investigation into abusive restraint
practices that can cause serious injury or death. As such the public interest to

prevent abuse is advanced.

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Furthermore, the public interest will be advanced by Defendant Sierra
Vista’s transparency concerning its use of behavioral restraint. Defendants have
reported to the State and county programs that there were only three (3) incidents
of behavioral restraint at the facility in 2008. (Scherer Dec., Exhibit 36, at pp. 217-
228. DRC’s review of a sample of Defendant Sierra Vista's notable incident
reports from 2008 has found 20 incidents of behavioral restraint at the facility in
2008. (Scherer Dec., Exhibit 37, at pp. 229-239). Further, pursuant to its abuse
investigation, DRC has learned that there were 188 incidents of behavioral
restraint involving 11 individuals in 2008. (Scherer Dec. at p. 203).

DRC’s access to the facility and residents will advance the public interest by
ensuring that the rights and safety of individuals with psychiatric and ,
developmental disabilities are respected. Further, residents will receive complete
information regarding their rights, DRC’s advocacy services, and Defendants’

responsibilities.

CONCLUSION
For ail of the above reasons, this Court should issue a preliminary injunction

granting DRC access to records prepared by Defendants and granting DRC
access to Defendants’ facility and residents in accordance with federal and state
law.

Dated: May 21, 2009 Respectfully Submitted

Disability Rights California

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vickas Stortz, SBN 153378
Attorney for Plaintiff

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